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              District Court of the United States

                                            for the

                   Central District of California
                                                                                 NOV 24 2023
Kristen.JDIFMMF-FF Joseph, Plaintiff             )                                      rsm
        v.                                         )
Los Angeles County, Superior Court                 )
                                                   )     2:23-CV-09991-SVW-E
of California in the County of Los                 )
                                                   )
Angeles, Housing is Key, United States and         )   Civil Action No.:
                                                   )
California    Grant      Program,          Child   )
                                                   )
Protective   Services    of    Los    Angeles,         Please see all relevant State Actions:
                                                   )
Anthony HolgXin, Claudia HolgXin,/RXLV           )
                                                   )
                                                   )   Holguin v. Joseph Case#:23NWUD00203
&RUUDGR and 8QNQRZQ Owners,
                                                   )
                                                   )   Joseph V. Holguin Case #: 23NWCV03216
Defendants
                                                   )
                                                   )   Federal Class Action: 2:23-CV-08320-SVW-
       v.
                                                   )   E
A Port commonly known as 5434
                                                   )
PremierF Avenue           in     Lakewood              California 2nd District Court of Appeal:
                                                   )
                                                   )   B333039
California     and      Cargo,       and    the
                                                   )
                                                   )
Vessel       commonly          known         as        In re Wrigley J. Case#:21CCJP00852A
                                                   )
                                                   )
“Wrigley      Joseph”          under        the
                                                   )
Citizenship of the United States,

Defendants




                  Certification and Notice of Interested Parties
                             (As per Local Rule 7.1-1)
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To the Court and All Parties of Record:

        The undersigned that the following listed party (or parties) may have a pecuniary interest
in the outcome of this case. These representations are made to enable the Court to evaluate possible
disqualification or recusal.

        Plaintiff notes that there are many more individuals who are interested. For instance, Los
Angeles County is named as a defendant. There is a Board of Supervisors elected to that entity. I
did not list each of those individuals. There are many more, I am doing what appears to be relevant
based on a number of simple factors.

Party                                   Connection/Interest
Los Angeles Superior Court in Los       Defendant
Angeles                                 Defendant
Housing is Key (State/Fed agency)       Defendant
Los Angeles ChildUHQDQG)DPLO\        Defendant
6HUYLFHV                                Defendant
Anthony HolgXin                         Defendant
Claudia HolgXin                         Defendant
/RXLV&RUUDGR                           Defendant or Party of relevance.
Wrigley Joseph
Unknown Does                      Respectfully Submitted,


Date 11/22/23                   ___________________________
                       By: _________________________________________________
                                    Kristen Michelle Lee Josep
                                                         Joseph
                                    5434 Premiere Avenue
                                    Lakewood California [90712]
                                    mommyandwrigley@gmail.com
                                    Tel. (562) 314-8111
                                    Self Represented

                                           Verification

       I declare under penalty of perjury that the foregoing is true and correct.



Date   11/22/23                     ___________________________
                                                  _
                       By: _________________________________________________
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                             Kristen Michelle Lee Joseph Joseph
                             5434 Premiere Avenue
                             Lakewood California [90712]
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                             Tel. (562) 314-8111
                             Self Represented
